                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION


UNITED STATES OF AMERICA                 )                    DOCKET NO. 5:03CR48-V
                                         )
            vs.                          )                    ORDER FOR DISMISSAL
                                         )                        INDICTMENT
(6) LILIA SALAZAR GUZMAN                 )
(10) JOSE MARIA BALDOVINOS-VALERIO )
(13) NICCOLAS CONTRERAS SANDOVAL )
(14) DONACIANA PATINO-VEGAS              )
(15) NOE PAREDES AVILA                   )
(21) BOBBY LNU, aka Marcos Anthony Moreno)
(23) HOGUER SANCHEZ-BERMUDEZ             )
(29) MARARIO PINEDA SANCHEZ              )


       Leave of Court is hereby granted for the dismissal of the Bill of Indictment (as it pertains

to the above listed defendants only) in the above-captioned case without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshal’s Service, and the United States Attorney's Office.




                                                 Signed: September 4, 2007




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